Case: 5:06-cv-00243-JMH-REW Doc #: 147 Filed: 07/18/07 Page: 1 of 2 - Page ID#: 1472




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCY

   GENERAL ORDER NO. 0 6 -    6

   IN RE:      Rule 7.1 Corporate Disclosure Statement


                                  STANDING ORDER

         A non-governmental party to an action or proceeding in a

   district court with its first appearance, pleading, petition,

   motion, response or other request addressed to the court must

    file a corporate disclosure statement in compliance with Federal

   Rule of Civil Procedure 7.1      .   Whereas, a review of the court's

   docket has revealed numerous instances of non-compliance with

    Federal Rule of Civil Procedure 7.1 and the Court being

    sufficiently advised;

         IT IS HEREBY ORDERED BY THE COURT:

         1)    That the Clerk is DIRECTED to send a Notice of

               Deficiency allowing counsel ten (10) days to cure the

               deficiency when a Rule 7.1 disclosure statement is

               absent upon the filing of an initial pleading by a non-

               governmental corporate party.

         2)    That the Clerk is further DIRECTED to submit the case

               to the presiding judge for consideration of taking

               action to STRIKE the initial pleading from the record

               when the deficiency has not been cured at the

               expiration of ten (10) days.

                     This 15th day of May, 2006.
Case: 5:06-cv-00243-JMH-REW Doc #: 147 Filed: 07/18/07 Page: 2 of 2 - Page ID#: 1473
